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 4                             UNITED STATES DISTRICT COURT
 5                           SOUTHERN DISTRICT OF CALIFORNIA
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 7     JAVO BEVERAGE CO., INC.,                            Case No.: 19-CV-1859-CAB-WVG
 8                                        Plaintiff,
                                                           ORDER GRANTING CALIFORNIA
 9     v.                                                  EXTRACTION VENTURES, INC.
                                                           AND STEPHEN COREY’S MOTION
10     CALIFORNIA EXTRACTION
                                                           FOR LEAVE TO FILE DOCUMENTS
       VENTURES, INC. AND STEPHEN
11                                                         UNDER SEAL
       COREY,
12                                     Defendants.         [Doc. No. 40]
13
       AND RELATED COUNTERCLAIMS
14
15          The Court, having considered defendants California Extraction Ventures, Inc. and
16    Stephen Corey’s (“Defendants”) Motion for Leave to File Under Seal [Doc. No. 40], and
17    having determined that there are compelling reasons to seal the material that overcome the
18    presumption of public access, hereby GRANTS Defendants’ Motion for Leave to File
19    Under Seal. Accordingly, portions of the Declaration of Wen Eng and the attached
20    financial information may be filed UNDER SEAL.
21          The Court also finds good cause to further restrict access to sealed information that
22    Defendants have designated “Outside Attorneys’ Eyes Only.” Access to this information
23    is hereby limited to Plaintiff’s outside litigation counsel of record only.
24          It is SO ORDERED.
25    Dated: January 6, 2020
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